 

Case 7:14-cv-08193.NSR Document1-4 Filed 10/14/14 Page 1 of 31

 

 

 

 

 

Phone Number y

. Descriptions:

 

 

 
  
  
  
        
  

 

v-08193-NSR Document 4-4- Filed 10/14/14: Page 2 of 31. .

   
 

fORALES STATED TH TH HE HAS ‘A BAD BACK-ANDSTIS HA
‘WRITER OBTAINED MORALES IDENTIFICATION INFORMATION AND THEN

 

‘DIRECTOR OF PARKING AND TRANSPO! {TATION (DONNA SALTER WHO
TATED 1

-2 © CENTER-NORTH AND BACK TO W.
_- WAS GOING-TO CALL THE BUS COMPANY AND HAVE THEM CHANGE THE SCHEDULE i.

. 70.60 T0¢ CLASS. NO CAMERAS IN THE AREA TIME.CLEAR 0907 HRS.
2 Shisla/Serial No.: 260 d

       

 

 

 

     

 

 

  

~ sro OA ET
Case 7:14-¢v-08493-NSR Document 1-4 Filed 10/14/14. Page 3 of 31

  
     

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Police’

    
  
 
  

   

   
  
 
 
  

   

AT 7

Report Faxed: DA "TIME: ale ce
; AND X8906 TO"

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veewees ! PAbuse
jent ¢__ Noise’ daaVheft | Vandalistn

   

    
  
 
 
  
  
  
  
 
 
  
 
 
 
   

 

 

  

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BB thie’ following i is'a strong: doastiuctive criticism ‘thats
is..to doubt thatyou are a great person and a woman. Whi ‘
“ever that is), yes biit'you'have done plenty of others that should have not done? Experietice i is what vio iieed: Danielle,
had. seen how soft. with émployees and how they controlled you. Furthermore, how intertwined yoo are with your |
peer “workers and staff, It's hard te believe that you have some authority: i ii the school. | always had a tremendous

| regard for you, I do not think youshave whatis nésded for that position you are fotding, aid you are damaging the:

| school-and the students with iti,] have five times tlie life experiencéthat you an many: fields than Yous and you have no”

' iniflative.to take’strong’ decision ihaf‘can'make a difference: Your poor J dament has-caused a lotofisnffering not only’

con ne but-on other: students: Furthermore, yourgre.too mature: (ndlie sayy | joutoo eld) 46 siffer from pecr pressu Fe,
Youtvalue your coworkers before you, jobs:

Yow are nat an independent creative person, and that is a.musticad oth c
j analogy. ait is like a hurse holtakiigicare of Her patient but giving a vide to a ¢o-wor rer:
ethic class, just to: keep your status with: theprofessor;:s6was With

N ahd Me Dept: Of Eduéation when yon suspected « -
onl shield that Will disappear atany “prtiintite Mer.
“yea that have made derogatory statem enifs

  

    

 
  
  
 

   
   

 

 

   
  
  
 
   

  

 

 
 

it one day: someone, will act-out ‘on whieh disturbing: mind oe ‘teni por J
all. And you ‘tale about career arid: experience,

 

 

life ancl future of a student you fall way, shot?
ed fo testify,..oh atid the free housingH! : You .
ats We reason Fam ‘pound fo continue

 

  

rofessional: sorry’ for honest with.

 

 
 

 

 

 

Id do something stupid, and have innocents pay’.
accept t this strong remarks from-a, good and

  

 

 

 

wand Kat. So'one day some crazy’
reer yett Danielle. Please forgive my Honest and
ad. ;

 

 

 

  

 

¢ ashiamed’of your dations thr’ saat

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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- Case’7:14-cv-08193-NSR ‘Document 1-4 Filed 10/14/14 Page'6 of: 31

   

 

  
 
 
  

in the School of Humanities is under review for
Fof the faculty” review committee, [ would like to solicit your -
rr FC or present students i in this review process.

ulty member: aid should be as < detaited and explicit as possible
if Broviding, acrit cal ment of his quialities: as a teacher atid member ot the a

. academic community. “The more reflective and candid your letter, ihe more help ful it will

be to the review conimitice. ‘Please also indicate on the letter whether or not it may: be :

. shown to the candidate...

 
         

   

 

Ino of der to figure. i im tie deliberations of the: review committee, ‘the letters must bé -
ctober 31, 2012. Pléuse address them to the Faculty Review
re Brudzinskt care of the School of Humiattities, SUNY at
SO Hill ‘Road: Purchase, NY 10577. Your letter of course.

 
 
   

 

 
 

_ Case 7:14-cv-08193-NSR Document 1-4 Filed 10/14/14 Page 7 of 31

 

 

 

 
Case 7:14-cv-08193-NSR Document 1-4 ‘Filed 10/14/14 Page 8 of 31

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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Case 7:14-cv-08198-NSR’- Document 1-4, Filed 404444 Page 10 of31°

 

 

 

 

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. OFFICE FR Cy tL. KIGHLS ;
dP OnE Set 28" eet o eb es
no Sew yee, “‘REW THEE fogs hens | ;
Tmaray G BLANCHARD |
 TIRECTOR = fous
h ew FORE : APEC te Md { a

   

nN. Avenue, ‘Apt 2M
- Mt Vernon, New York 10550

 

Re: Case N No. 02-12-2102.

   
 
  

4 soverrefercacad conitalnt you ‘filled against “the! * Ste avery of New’ :
go. (thé College). You alleged that the College discriminated against you on : .
ahd ‘ietalidted against you for filing a ‘prior OCR complaint, by: failing to .
é in its doeruitory during ‘the fall 2012 semester (Allegdtion'1), atid requiring:
reside in: non-traditional: housing instead, despite an-agreement with the
bi Services, to the contrary. {Allegation 2). “You also alleged ‘that the College ‘
“against yor.on the basis of ‘your: disability: ‘by failing to ‘provide. you with an. ;

   
 
 
    
   
   
  
  
 
  

 

 

 

 

housing accommodation for the, fall 201 2 semester (2 Allegation 3). i
1a referred your allegations w the e Pedra Mediation and Conciliation Service (FMCS) at i
653 set forth below: eo Be - - p.

 

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is refe your ‘alegaiiens ia “thelr ex |
2ay'o of the. Age: ‘Diseri on ‘Act, which’ requires OCR’ ‘to refer: !
ging disctimination’on the basis of age: aS welll as"aily related ‘complaints that |
eparable ‘froma ‘conplainani’s allegation. of age discrimination, to

"MCS. does'nt: resolv the‘ complain within'60"days ‘of the date that |

OCR recived the compl2int, OCR. will resume ne its evaluation of these allegations. The College

has ‘bed vadyiged of the'teferral. ‘A. representative -of. FMCS will contact you to discuss the }
mediation of the complaint. —

 
 

 
 
 

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~ Case 7:14-cv-08193-NSR Document : 4 Filed 1o/iayia Page 1 of ais

   

  
  
   
  
   
 
 
 
 
  
  
   

 

OF Page 2 of 3 Edward Morales

   

2 be adv std 4 of the following ing iniformatic ffomn the Age Dicerininaton Act repulton that
eos ‘applies wo the complainant's age discrimination allegation: oo

“You may ‘file. a ena, lawéuit against the. College vader ‘section mn 305(@) of the Age sO
Dis crimination Act after administrative ‘pemedies ae exhausted: | Adtainiswative

-; Fertiédies. are exhausted. if; (1).180 days have™ passed | since:you- filed the: comiplainit
“with ( ocr’ and GER, Has. saade ito findings, of Bo OCR issues'a finding i ip favor of the

uct for ths district in whic

ail in the civil aétion; ‘yo have'a ht to’ ‘be! aiatded costs of the action,
‘reasonable Estomeys’ “fees, > buts ‘You: mist demand these casts in “the

ni¢ral Of the United States, the Secretary of Edu:
uman Services, anid the Institue “This notice sm
ge Discrimination Act, the relief requested, the co

    
 
 

 

    
 
 
     
 

 

a Act at by the College | is. the: ne subject of a pending action in any ‘court of

iplaint ine in.
a" separate toneplaa? ‘with,

sategempemomep ween maT

Under, ihe Freedom of Infomation Act, 3 USL. §- 552, it maybe necessary to‘ release this
- recotds ipda réguest.. In the event that OCR receives
wil! seek to’ protest, to’ tent provided by. lew, personally identifiable

“if released, could constitute an uawarranted invasion of personal privacy.

 
 
  

 

 

ae

 

 

>mmencing: the action, you rmtist’ ive 40 djs? notice’ “by. registered inail to!
Education, the: Secresary

dene annot ig ‘the: civis action 4p the same . alleged violation of the L Age ,

eames gn ceed PI ptm ea ey

action will be + brought, end. whether. of not. amorneys! feee are Seinnded | if ya pe
Jo. Case 7:14-cv-08193-NSR Document 1:4: Filed 10/14/14 Page 12 of 31

   

oa nen 3 Based Mt

     

_ Investigator, at ree) 428-3808 or Diane,.Ca:
_ Bory, ‘a te) 428-3792 or James Mo at

 
  
   
    

hates Negation:22is-ap;

“referred the entire complaint’ FMCS pursuant to 3A CER, §

~ Case.7:14-Cv-08193-NSR’ Document 1-4 Filed'10/14/14 Page 13 of 31.

vt a oo Regn . , BS er apg sa!

  
  
    
 

NT OF EDUCATION NF
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* ERGOR no

S¥YORK 19005 ae

ITED STATES DEPART
: - OFFICE FOR CF
FF LIV SCIPS 2
NEW YORK. NE

 

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TIMOTHY Cc. ‘4. BLANCHARD *-
a, oe » DIRECTOR: .:
ae r .- oe NEW YORK ‘OFFICE’

 

". Febriary 6, 2013

 

‘Dear Mr. Morales: :

On September 5, 2012

“York: Purchase ‘College. 4 t

the basis of your age, and:

 

. Based‘ on “intirtadobr you provided ny ‘your’ - complailit ‘Th an interview: with OCR staff. 68

September 25, 2012; and in electronic riiail messages sent to OCR stall, OCR has determined
ip igi, However, OCR determined that: Allegations j
é tion for the | reasons ‘set forth below, ~

 

    
 

at d3 are not appropriate | for. invest

  

 

nied that. your ‘qon-aee. allegations were dot. independent anid separabie from the agé allegations, and
[O.32fa) of the Age Discrimination Act, which requires
OCR to tefer all coinplaints alle tig” discrimination on ai : s Of age, as well as any inter-related complaints
“alleging discrimination. on the: bases of race, colér, natiidial: origin, SEX, disability, andor ufidér the Boy Scouts of
Ameri¢a, | Equal, Access Act to FMS for resoiution, ‘ .

OCR dete

 

  
 

 

    
 
  
     
   
 

  

 

 

   

i me Page 2 of 4— Edward Morales . a

iy wos With respect to Allegation 4, yow-all allege discrit ec | based: on
“os. YOur age, or in the alternative retaliated against you for! filing a prior OCR complaint, by failing

‘ to’allow you‘to'reside in

previously raised Allegations’ 1 and:3 in a complaint filed with OCR on July 12, 2012 (Case No:
02512-2149): By jletter, dated August 21,2012;OCR informed you that it-
- allegations. Pursuant to its case processing

-tespect jo. Allegations "arid!3~/and has disint

  
 
 

ovediires,"OCR: will take no further ‘action with
therm as-ofthé date of thislettet.-«

T

 

 

              
  

        

 

 

    
  
  
 

ene
~~ OCR is responsible for enforcing he Age Disctimination’ Act of 197
AeD, 42° U'S.C-§76101 "et -seq-y and, ifs implementing regulation: at
©. prohibit discrimination on the basis, of age in programs: and ‘activi
~ assistance from.the U.S. Departmiént.6f Education (the Departme The Collegeis
© of financial assistance from the Départment. Therefore, OCR has: sdictional
Dies investigate this complaint under the ‘Age Discrimination Act. ee ET ee

ata

   

  

CER. Part 110; which

 

 
   
  
 

  

sa implementing the Age Discrimination Act at 34 C.FR: § 110.34, ingorporates'b

   
  

provides-that: .

¢, threaten, coerce or discriminate |.
against any individual for the purpose of interfering with ‘any right or privilege.

ee secured by: regulations efiforced by OCR or because one has made a complaint,”

“No recipient or other person: shall intimide

3

* testified, assisted or participated in any manner in an investigation, proceeding or. .
- hearing held in connection with 4 complaint: . °°: co 7

 

  

jurisdiction and thal Allegation 2 wa

  

sas determined that it has} was’ filed in @ timely
" “manner, it 1s opening the allegation for investigation. “Please-note ‘that opening Allegation 2 for

 
 
 
 

way implies that OCR has made a detertnination with regard to its:merits.
ation, OCR is a‘neutral fact-finder, collecting and analyzing relevant evidence

s complainant, the fecipient, and other sources, as appropriate. OCR will ensure that its
“investigation “is legally sufficient and/is dispositive of the allegation, in accordance with the
provisions of Art I 1 of OCR’s Case: Processing Manual. ;

   
    
  
 

id appropriate resolution of the allegations contained in a complaint.

QCR’s goal is the prompt an : a contain
OCR’ jate, an Early Complaint Resolution (ECR) ‘process, similar - to

   
 
  
 

“ mediation; to facilitate ihe voluntary resolution of complaints by providing an early opportunity for
2d to resolve the allegation(s). Some information about the ECR process is
iblication entitled; “OCR ‘Complaint Processing Procedures,” Which was
- previdls letter to you acknowledging your complaint. This information. is
iwi? ed .cov/about/oltices/list/oer/docs/ocrepm htmlf lt,

- 7 5 . :

 

    

Jeged that the’ College discriminated against you based on

o allow yo its dormitory'during ‘the fall 2012 semester. With respect to Allegation.
: 3, you alleged ‘that the College discriminated ‘against you. on the: basis of disability by failing te -
= provide. you with’ appropriate housing, for ‘the’ fail 2012‘ semester. OCR: determined that you

id dismissed the.

ities’ recéiving. financial .
a. recipient
uthority to

 
 

0.7(e} of the regulation implementing Title V1 of the Civil Rights Act‘of > =

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cece tee Ee Tag .

 

; Page 3 of 4— Edward Morales

Also, when appropriate, a complaint may: be rasolved before the conclusi oa of

after the recipient expresses an. interest t A:
> obtains. a résolution agreement signed by. the recipient. This agreement’ mus be aligned with the
. ° ¢omplaint allegations ot the: information . obtained. during: the: investigatio: ‘and ‘it must be
“© ‘consistent with applicable regulations. -Ad )

 

“enclosed with: OCR’s previous
: also ¢ on OCR’ 's: website: at hutp lh

Be! Additionally, 4 3
Discrimination. Act repultion equi CR.to pr nf imation: Ua

  
 

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"| Casé 7:14-cv-08193-NSR ‘Document 1-4 ‘Filed 10/14/14 Page 15 of 31

ne ee

 

   
   

OCR. t6 resolve the’ ‘complaint. ”

 

 

jditional information: about this volutitary | resolution

CR Ceriplai 8," wh ich was: -
i acknowledging your complaint.
AV. ed. sovlabaulloffices/istlocridocsocreprn ell

   
    
    
   
  
  
 
 
  
   
 
  

 

  
  

procéss. may be found in the’ publica i

 

 

 

2012, the. ‘Age

 

2 “You may file a. , eivil, aw uit ag: it
: _ Discrimination. Act. aes cadministrati

   

    

 

vail in the civil action, you have a ght to bea awarded costs. ithe action, -
must demand. these. “costs, in, the

 

 

. Before icotnmenaing ihe’ action, you must give 30 days” notice by registered mill jo |
“the ‘Attorney. General of the. United States. the Secretary of Education, the Secretary of
“Health ‘and’ Humiin: Services: and the College. This notice must ‘state thé -alleged
_ violation of the Age Discrimination Act; the relief requested, the court in which the
action, yan be: ‘brought, and wh ier or not attorney’ 5 fees are ‘demanded if you

 

  
    

“Dissth & innol bring, ihe civil ‘action if the: same alleged violation of thie. Age
ge.3s the subject of a pending aetion in any, court of

OCR alleging 8

Unider the, Preedomt of Information Act, -§ U. s. C8 582, if may be necessary to rélease this
ent aid related correspondence and records, upon request. In the event'that OCR receives
such a request, i will seek to protect, to the’ exterit provided by law, personally identifiable
information that, if released, ‘could constitute an ‘unwarranted invasion of personal privacy.

 

 

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» -Case:7:14-cv-08193-NSR_Docurent 1-4

 

, Page 4 of 4= Edward Morales co

   

 

    

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» ‘OCR will Gomniniibicate with you periodically regarding ihe status of Allegation’ a ie you have
_ any questions regarding OCR's determination 4 =
interested in resolving Allegation | through OCR’s ECR process, ‘please contact’ Diane. Castro,»
oe Ov; “Or. ‘James Moser,

ve Compliance Team Attomey, at (646) 4 428- 3792 or ‘James, Moseri ed. .B0V. —

 

 
    

Compliance Team’ Investigator, at (646). 428-3808 or. Diatié: Castro ed.

 

_ Sincerely ;

go i

 

 

 

  

 

 

respect | ‘to Allegations. 1\and 3, or are - ve

 
 

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_: Case'7:14-cv-08198-NSR Document 1-4 “Filed 10/14/14 Page 18 of Shen:

 

   

 

 

 
 
  
   
   

ES DEPARTMENT OF EDUCATION: (oo
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TIMOTHY Cod, BLANCHARDS ~
DIRECTOR 8

oe NEW YORK OFFICE |

“Mareh'13,2013- a

 
 

   

"State University-of New York, Purchase College. ONES

  
 

    

Dear Mr Morales::

  
  
  

    

: 22 and. February 420 13, the u SoD artmel Education, | we Y
Rights: (OCR) received: the “above-referenced complaints: you ‘filed aga

“University of New York, Purchase College.' You alleged that the College discriminated against. y= *
you on the basis of your disability, by failing to promptly provide you with on-campus housing’: °° 7
«Jas an accommodation during the fall 2012 semnester (Allegation 1). YOu" further“alleged:that-the ge ata

| Colegecaischintiiatted agi itis youre the, basis:of, your‘age; by:giving HewrSidents-prioritywath
oe respect-to-onzcampus housing during the-fall'2012'semester (ANlegation 2)-5 AA oe

 

 

 

 

   
       
  

  
 
 
  

Based on: information Gu‘ provided. in’ your coniplaints, in electronic mail messages provided to ~ Y)-
€ taff from Janu to’ February 27,-2013; and during a telephione coriference with OCR 4”

’ staff on February 25, 2013, OCR deterinined Allegation | is not appropriate for investigation _a
“forthe reasons setforthbelow, oe !

  

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With respect to Allegation |, you alle ed that, the’ College discriminated agaist you on the-basis
-< of your disability, by failing to” promptly provide’ you with on-campus housing. as an -
_ «accommodation during the fall 2012 semester. OCR dete:mined that you ‘previously raised this

~~ allegation im a complaint filed with OCR on Jilly 12, 2012 (Case No. 02-12-2149), and in a
“complaint filed with OCR on September’ 5, 2012 (Case No. 02-12-2192). By letters dated

* August’ 21, 2012, and February 6, 2012, respectively, OCR informed you that it had dismissed _

“the allegations. Therefore, pursuant 'to its case processing:procedures, OCR will take no further

_ action with respect to Allegation 1, and has dismissed it as of the date of this ietter:

 

  
   

 

. Luring atelephone call with OCR staff on Febru ry 25, 201 3; you stdted that the complaint you filed in OCR Case
NO: 02-13-2086, on February-4,-2013, is duplicative of the complaint you filed in OCR Case No. 02-13-2074, on
-Yanitary 22, 2013. You' stated that you filed the complainit a second time, becalise you did not receive confirmation
‘after. filing’ the first complaint: >: bys

 
 

 
  
 
  
 
 
 
  
  
  
  
   

    

(Case 7:14-cv-08193-NSR™ Document 1:4 Filed 10/14/14 Page 19 of 31 |

 

 

Ont Service: FRACS a

" Rederal Mediation’ ‘and Conciliation Service

 2100'K Street, NW:

2° Floar
‘ gion, D.C, 20827:

 
 

/ Biss basis oP age to EMCS for resé uli
_ a the date that OCR received. the ¢

 

 

° ‘ letter s sets “forth OCR’ s ‘determi 10 ‘can ‘dividual ‘OCR case. This. lever. is not a font Le _
statement of OCR policy: and should tiot be relied’ pon, cited, or construed as such. OCR’s

fe mal, policy’ statements :< ‘are > approved bya duly. authorized OCR official and made available ‘0 -

 

 

 

  

 

   

  
  

He pursuant to the regulation at 44 CAF. R. § 10. 39 oimiplt
for injunctive relief in federal court following the-exhaus

  

 

 
 
 

of administrative

“Administrative remedies are: exhausted if; (1) 180 days Kav elapsed sinec™ this

 

fi a civil act

   

any finding i in favor of the recipient. A civil action:can be brought only ina United Siates district
. court for the district in. which’ the recipient is found ‘or transacts business. A complainant
‘prevailing’ in a ‘éivil ‘action has the’ right to: be: awarded: the costs of the action, including
7 “Feaso rable attorney's fees, but “these costs must be ‘demanded in the complaint filed with the
: -court. Before corimencing ‘the action, the complainant shall give 30 days notice by registered
“.maail to the Secretary of the Dep lucation. the Secretary of the Department of Health.
ooe d’Human Resources; the Atom ed. ‘States, and the t it. The notice:
“> eo shall state the violation of the Age Act, the relief requested, the court in which’ the-action’ will’ ‘be.
ought, and: Avhethier or ‘not: attomey *s fees ate démanded in the event the: complainant: prevails.
ie complainant’ may ‘not. bring an on if t e.same alleged: violation of the Age Act byt the
recipient 1s! ‘the: subject ofa pending action in’ any y court of the United’ States.

    
  

   
      
  

     

 

 

Please’ be advised that the College may not fiarass, coerce, intimidate, or disefintinate against any
individual’ because he or she has filed a complaint. or participated in thé complaint resolution
process. If ‘happens, you may file another complaint alleging ‘such treatment.

    
 
  

£ ‘iiforwation Act, it may be necessary to vélease this document and related
ecords upon request. In the event that OCR receives such a request, we" will
the. extent provided by law, personally identifiable information, which; if
released, ‘could: reas rably be expected to. constitute an unwarranted invasion of personal
privacy. - no ?

 

 

 

   

 

4 complainant filed the complaint. with OCR, and OCR has made no finding, or (2) OCR. issues S : a
   
     
  

 

 

Page 3 of 3 ~ Edward Morales, .

if you ‘have any questions regarding the’ mediation’ process, ‘please ‘contact FMCS, at ¢
5445 For uestions: about .OCR's process. please: cé
: 0) 4. 428- 3792 or James. Moser Ged: Ov.

“ Case 7:14-cv-08193-NSR’ Document 1-4 Filed 10/14/14 *Pagé’20 of 31-

 

 

   
 

et James Moser, Com ance Team’.

 

- Sincerely,

ee Team Leader”

 

 

 
 

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ase 7

 
 
 
 
   
   

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| dissemination, distribution, -or copying of this communication. is strictly prohibited: If you ha
{received this communication i” error, please’ notify the sender immediately by calling (¢

 

Ofée ofthe Vice President
tor Student Affaics ,

 

Purchase Collage

State University‘of New York
735 Anderson HillRoad
Purchase, NY 10577-1400

tek 9142516030 Phe IE Soe f Ba
fax 912257 6084 | ee
email) student-atiaies@purchase-edy 8 Fs a ee

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[6030: Thank you.

 

 
 
  

   

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4 amu uNTvERSItY oF wei. York

 

 

Fue 9140516084

 

 

 

|) withDisabltities
| PO Box 6008

|| 807-777-2686 (Voice/TT)

  
  
   

  

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Case 7:14- cv-08193- NSR. Document 1. a “Filed 10/14/14. Page 23 of 31,
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ces for Students

   

Binghamton, New Yorks a

GO7777-6893.

 

Disabilities

 

 

 
   

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“UNIVERSITY.

oe STATE UNIVERBITY Of NEWYORK © Gio”

 

 

 

 

 

 

 

 

 

 

 

 

   

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‘sRobert &. Beloten .
‘Chair.

 

sand es banat M iabies WCB Case #3060 2220

 

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- Social Sei Ss @arrier-- Wi Varn!
WCB Case - 30602220 6 oe» @arrier ID NO.

Date of Accident q29R008 €arrier Case No: - ‘OOG3:
_ District: Office’: Peekskall _ sDate of Filing of this Decision~ 08! isin.

  

 

| "ATENCION: .
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"Case 7:14-cv-08193-NSR Bécument 1-4 "Filed 10/14/14: Page 28 of 31°.

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The’ parties subniitted a Workers" Compiétisation Law § 32 Settlement Agteémibit sighed: Ot -
August 19,2009 for consideration by: the Béard: The Settlement Agreement submitted for ©
— consideration’ provides 1 for‘a payment to’ the claimant in the amount of $137, 500.00. The...
agreement notes that the claimant "represents t that he is not eee represented, by conte: OR
having discharged his attomey, Irwin BYS jerman, Esq." - : oe

  

te The’ Board's case‘file contains. sorrespeiiddioe' ate
‘ Settlement Agreement in question), requesting dismissal of his eurtent atoniey Irvin Be

Be . Silverman, Esq.

oo Pp sented arsuments'to the WCLI regarding the appropriate attorney's'fee from the monteythat «

    

 

   
 

 
 
    
 
    

€ 2 By’ Claimant's Avs
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“Eewin’ B. ‘Silvensian, Esq. requests a fe

12 claimant's attorney; Irwin: B. Sifveriaen, Esq

 
  

  

ee would be moving to the claimant if the. Workers' Conipensation Law: §-32 Settlement Agreemenit —
"were: approved. The claimant arpued that. no fee should be-awarded and that Irwin B. Silverman;
. Esq as sufficiently compensated: «when he. was: awarded a $4,70 sé the’ claimant % was:
: with’ ongoing. awards on Noveiiber 15, 2007: Frwint & :
ei oe work’: on the case since the clainiant's classificatio
“Compensation Law § 32. ettlenen

   
  

  
    
 
 
  

 
 

ie ow bod rwin B in th moun ‘Esq.. did on ‘the case’ 8 :
fication, the WCLJ cotichuded that a $7, (00,00 fee was warranted.

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“SPATE OF NEWYORK:
WORKERS! COMPENSATION BOARD

 

“BINGHAMTON, NY: 13902-5205"

wwie-web, stale. ny.us

"+ (866) 746-0552:

. State of New York - Workers Comperisation’ Board:

In- regard to Eduardo o Morales, WCB Case #3060 2220 i

 

 

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oe Health’ Provider Administration. ‘No further action is plane by the Board a

District Office - ‘Peekskifl =. | / cS sate of Filing of fis Decision

Case 7:14-cv-08193-NSR . Document 1-4' Filed 10/14/14. Page 30 0f 31

   

 

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Employer~ inmousine, Inc:
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“Case 7: 14-cv- 08193- NSR Document 1- 4 Filed 1o/ta/i4 Page 3 31 of. 31.

ee

 

 

 
 

fos LEGAL AI ANALYSIS |

   

~ -* Both the claimant: and the ‘claimant's attorney: y appealed, arguing that the $1 000. (00 attorney s fee.
“authorized by the’ WCLJ was not appropriate. ‘The claimant contends:that his‘atiornaey should: be.”

. satisfied with the previously awarded classification fee of $4;700.00, as that was for past and.
* future services'to be rendered by the attorney. The <lainiant's attorney: asserts that the $7, 000. 00.
fee authorized by the WCLI is inadequate i in light’ of the’ extensive services provided t to ‘the, ,

- claimant going back to: 2006.

   

 

ms The Board Panel has reviewed the resord anid. the provedural history of this case and: notes’ that tat vs . nt : wo
‘is clear ‘hat the claimant's: dooney! ‘has done sigt t work in this matter and. was instrumental. os
‘Law. §:32 Settlement Agreement This:

nm A Yanvary 8 8, 2010).

    
   

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